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                    ([KLELW
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From:                               Levy, Joshua S.
Sent:                               Tuesday, November 17, 2020 11:58 AM
To:                                 Levin-Gesundheit, Michael; Ostrager, Ann-Elizabeth; Briggs, Samantha R.; Siddiky, Leila
                                    R.; Wolfe, William S.; Davidoff, Amanda Flug; zzExt-carsonsullivan;
                                    'annayoon@paulhastings.com'; Cassady, Elizabeth A.; Giuffra Jr., Robert J.
Cc:                                 goldmansachs-attysonly@outtengolden.com; Shaver, Anne B.
Subject:                            RE: [EXTERNAL] RE: Chen-Oster v. Goldman Sachs, Discovery Deficiency


Michael,

Yourrequestforadditionaldiscoveryregardinga2017payanalysisfourdaysbeforethecloseoffactdiscoveryis
irrelevant,privileged,anduntimely.

Youremailmakesnoattempttojustifytherelevanceoftherequesteddocumentsanddata.Thisisunsurprising
because,asbothJudgeTorresandJudgeLehrburgerheld,theCourtdidnotcertifyastandalonecompensationclaim,so
informationregardingcompensationisnot,byitself,relevant.Totheextentanyofthedataunderlyingthe2017
analysismayberelevant,Defendantshavealreadyproducedpersonneldataforassociatesandvicepresidentinthe
threerelevantdivisionsintheUnitedStates.Anyadditionaldatausedinthe2017analysisforothertitles,divisions,or
geographiclocationsisnotpertinenttothiscase.NordoesyourselectivequotationfromDefendants’February21,
2012letterrenderthesedocumentsresponsivetoyourdocumentrequest.Defendantsinfactstatedthatthatthey
wouldproducestudies“conductedbyformalgroupsatthefirmsuchasdiversityͲrelatedtaskforcesorgroupswithin
HCM,”notanalysisdirected,supervised,andmanagedbycounseltoprovidelegaladvicetoGoldmanSachs’s
Environmental,SocialandGovernancereporting,whichisirrelevanttothisactionregardingthreeemployment
processes.

AsIexplainedinmyNovember16email,the2017payanalysiswasdirected,supervised,andmanagedbycounselfor
thepurposeofprovidinglegaladvice,andisthereforeprivileged.Thefactthatthefinalresultsofthisanalysiswere
disclosedpublicly“provides‘nobasisforinferringthat[GoldmanSachs]didnotintendthatthedrafts—whichreflectits
confidentialrequestsforlegaladviceandwerenotdistributed—tobeconfidential.’”BerkleyCustomIns.Managersv.
YorkRiskServs.Grp.,Inc.,2020WL5439636,at*5(S.D.N.Y.Sept.10,2020)(Liman,J.)(quotingInreGrandJury
Subpoena,731F.2d1032,1038(2dCir.1984)).“[I]nthisCircuit,thepublicationofanonͲconfidentialattorneyͲclient
communicationdoesnotcreateaninferencethatrelatedcommunicationsorearlierdraftsweresimilarlynotintended
tobeconfidential.”Id.(internalquotationmarksomitted).NordidDefendantswaiveanyprivilegeduringthe
depositionofErikaIrishBrown,whotestifiedthatshewasnotinvolvedinanypayanalysisbecause“[a]ccordingto
what’swritteninthereportitwasin2017,”which“predatesme”because“Iwasn’teventhinkingaboutGoldmanSachs
in2017.”(BrownDep.at123:17–124:2.)

Yourrequestforadditionaldocumentsregardinga2017payanalysisfourdaysbeforethecloseoffactdiscoveryis
untimely.Youdonotdisputethatyouhavebeenawareofthisanalysisforovertwoyears.Yourassertionthat
documentsregardingthisanalysis“haveneitherbeenproducednorlogged”iswrong.(See,e.g.,GS06066238(“Onpay,
wehaveconductedananalysisthatshowswomenatthefirmonaveragemake99%ofwhatmenearn.”);Defs.’Merits
PrivilegeLogEntryNo.5159(“Reflectsrequestforandprovisionoflegaladviceregardingcompensationpolicies.”).)The
fact“thatthe2017studywasconductedindependentlyofGoldman’sannualcompensationreviewprocess”innoway
excusesPlaintiffs’overtwoͲyeardelay.

Regards,
Josh

Joshua S. Levy
                                                              1
             Case 1:10-cv-06950-AT-RWL Document 1157-3 Filed 01/07/21 Page 3 of 5
Sullivan & Cromwell LLP
T: (212) 558-4307
C: (516) 680-5751

From:LevinͲGesundheit,Michael<mlevin@lchb.com>
Sent:Monday,November16,20208:22PM
To:Levy,JoshuaS.<LevyJo@sullcrom.com>;Ostrager,AnnͲElizabeth<ostragerae@sullcrom.com>;Briggs,SamanthaR.
<briggss@sullcrom.com>;Siddiky,LeilaR.<Siddikyl@sullcrom.com>;Wolfe,WilliamS.<wolfew@sullcrom.com>;
Davidoff,AmandaFlug<davidoffa@sullcrom.com>;zzExtͲcarsonsullivan<carsonsullivan@paulhastings.com>;
'annayoon@paulhastings.com'<annayoon@paulhastings.com>;Cassady,ElizabethA.<cassadye@sullcrom.com>;
GiuffraJr.,RobertJ.<giuffrar@sullcrom.com>
Cc:goldmansachsͲattysonly@outtengolden.com;Shaver,AnneB.<ashaver@lchb.com>
Subject:RE:[EXTERNAL]RE:ChenͲOsterv.GoldmanSachs,DiscoveryDeficiency

Josh,

The2017payequityanalysisatissueisexactlythetypeofanalysisGoldmanrepresenteditwouldcollect.Itisa“stud[y]
concerninggenderand...compensation,”“pertain[ing]tothe[]revenuedivisionsandw[as]conductedbyformal
groups.”February21,2012LetterfromBarbaraBrown,at3.ThisisnotanexampleofwhatGoldmandidnotagreeto
collect:documentsfrom“informalgroupsaroundthefirmhav[ing]lookedattheirowndataor
circumstances.”Id.Instead,Goldmanconductedaformalstudycoveringvicepresidentsandassociatesinthepertinent
divisions,andwhilethestudycoversmorethanjustclassmemberpositions,itsbreadthdoesnotmakeitunresponsive
toRequestNo.11.

Plaintiffsdonotseek“additionaldocumentdiscovery,”andPlaintiffs’inquiryisnotuntimely.November16,2020Email
fromJoshuaLevy.Thedocumentsatissueareresponsivetoadiscoveryrequestaboutwhichthepartieshavealready
metandconferred.Goldmanagreedtocollectthedocuments,butthosedocumentshaveneitherbeenproducednor
logged.Thediscoveryperiodisopen,andwewrotetoyouidentifyingthedeficiencythesamedaythatwelearned,
fromChiefDiversityOfficerErikaIrishBrown’sdepositiontestimony,thatthe2017studywasconductedindependently
ofGoldman’sannualcompensationreviewprocess.WenotethatyoudidnotraiseaclaimofprivilegeduringMs.Irish
Brown’sdeposition,andtotheextentthe2017analysiscouldbeprivileged,theprivilegewaswaivedbypublic
disclosureoftheresultsinanefforttogenerategoodwillforthefirm.

Pleaseconfirmby12noonE.T.tomorrow(Tuesday,November17)whetherGoldmanwillproduceunderlyingdatafiles
andanyreports,presentations,memoranda,orotherdocumentssummarizingordescribingthe2017genderpayequity
analysisatissue.

Thankyou,
Michael

                        Michael Levin-Gesundheit
                        Attorney at Law
                        mlevin@lchb.com
                        t 415.956.1000
                        f 415.956.1008

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                        San Francisco, CA 94111-3339
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
From: Levy, Joshua S. [mailto:LevyJo@sullcrom.com]
Sent: Monday, November 16, 2020 1:58 PM
To: Levin-Gesundheit, Michael; Ostrager, Ann-Elizabeth; Briggs, Samantha R.; Siddiky, Leila R.; Wolfe, William S.;
Davidoff, Amanda Flug; zzExt-carsonsullivan; 'annayoon@paulhastings.com'; Cassady, Elizabeth A.; Giuffra Jr., Robert J.
                                                                    2
              Case 1:10-cv-06950-AT-RWL Document 1157-3 Filed 01/07/21 Page 4 of 5
Cc: goldmansachs-attysonly@outtengolden.com; Shaver, Anne B.
Subject: [EXTERNAL] RE: Chen-Oster v. Goldman Sachs, Discovery Deficiency

Michael,

Thereisno“deficiency”inDefendants’documentproductions.Defendantshavealreadyproducedpersonneldatafor
associatesandvicepresidentinthethreerelevantdivisions.ThepayanalysisPlaintiffsreferenceisnotrelevanttothis
case.ItwasabroadanalysisthatincludedemployeesoutsidetheU.S.inalldivisionsandjobtitlesandthushasno
bearingonthepopulationorclaimsatissueinthislitigation,whicharelimitedtoassociatesandvicepresidentsin
revenueͲproducingroles,inthreespecificdivisions,anddonotincludeastandalonecompensationclaim.Noristhis
analysisresponsivetoRequestNo.11toPlaintiffs’FirstSetofRequestsforProduction,whichthepartiesagreedto
narrowtoanalysespertainingtoAssociatesandVicePresidentsinrevenueͲproducingpositionsintherelevantdivisions
performedby“formalgroupsatthefirmsuchasdiversityͲrelatedtaskforcesorgroupswithinHCM.”(Defs.’Feb.21,
2012Ltr.at3.)Moreover,thepayanalysisPlaintiffs’referencewasdirected,supervised,andmanagedbycounselfor
thepurposeofprovidinglegaladvice,andisthereforeprivileged.

Finally,Plaintiffs’requestforadditionaldocumentdiscoveryoneweekbeforethecloseoffactdiscoverycomestoo
late.Asthelinkincludedinyouremailshows,thefactthatGoldmanSachsconductedapayanalysisin2017hasbeen
publicforovertwoyears.Plaintiffscannotwaituntilthefinalweekoffactdiscoverytoraiseissuestheycouldhave
raisedyearsearlier.

Regards,
Josh

Joshua S. Levy
Sullivan & Cromwell LLP
T: (212) 558-4307
C: (516) 680-5751

From:LevinͲGesundheit,Michael<mlevin@lchb.com>
Sent:Friday,November13,20209:08PM
To:Ostrager,AnnͲElizabeth<ostragerae@sullcrom.com>;Briggs,SamanthaR.<briggss@sullcrom.com>;Siddiky,LeilaR.
<Siddikyl@sullcrom.com>;Levy,JoshuaS.<LevyJo@sullcrom.com>;Wolfe,WilliamS.<wolfew@sullcrom.com>;
Davidoff,AmandaFlug<davidoffa@sullcrom.com>;zzExtͲcarsonsullivan<carsonsullivan@paulhastings.com>;
'annayoon@paulhastings.com'<annayoon@paulhastings.com>;Cassady,ElizabethA.<cassadye@sullcrom.com>;
GiuffraJr.,RobertJ.<giuffrar@sullcrom.com>
Cc:goldmansachsͲattysonly@outtengolden.com;Shaver,AnneB.<ashaver@lchb.com>
Subject:[EXTERNAL]ChenͲOsterv.GoldmanSachs,DiscoveryDeficiency

Counsel:

IwriteregardingadeficiencyinGoldman’sproduction,whichbecameapparentduringthecourseofErikaIrishBrown’s
testimonytoday.Ms.IrishBrowntestifiedthatthefollowingpublicstatementisasummaryoftheresultsofa2017
genderpayequityanalysis:“Wehaveconductedananalysisthatshowswomenatthefirmonaveragemake99percent
ofwhatmenearn.”GoldmanSachs,Purpose&Progress:2017Environmental,SocialandGovernanceReportat24,
availableathttps://www.goldmansachs.com/citizenship/sustainabilityͲreporting/esgͲcontent/esgͲreportͲ2017.pdf.

Goldmanhasnotproducedanymaterialsregardingthispubliclydisclosed2017genderpayequityanalysis.Such
materialsareresponsivetoPlaintiff’sFirstSetofRequestsforProduction,RequestNo.11,whichseeks:“All
DOCUMENTSORCORRESPONDENCERELATEDtoallgenderͲrelatedstatisticalaudits,analyses,STUDIESORreports
regardingcompensation...forAssociates[and]VicePresidents...thatDEFENDANTShaveperformed,includingbut
notlimitedtotheunderlyingdataforsuchaudits,analyses,STUDIESORreports.”

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
Inlightoftheupcomingcloseoffactdiscovery,pleaseconfirmassoonaspossible,andnolaterthanby5p.m.ETon
Monday,November16,whetherGoldmanwillproducetheunderlyingdatafilesandanyreports,presentations,
memoranda,orotherdocumentssummarizingordescribingthe2017genderpayequityanalysisatissue.

Thankyou,
Michael

                        Michael Levin-Gesundheit
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